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 7

 8                             UNITED STATES DISTRICT COURT
 9          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10

11   TIMOTHY RYAN, M.D., an individual,               Case No.: 17-cv-05752-R-RAO
12                Plaintiff,                          Hon. Manuel L. Real
13   v.
14   BRANT PUTNAM, M.D., an individual,               JOINT RULE 26(f) REPORT AND
     JANINE VINTCH, M.D., an individual,              DISCOVERY PLAN
15   ANISH MAHAJAN, M.D., an individual,
     CHRISTIAN DE VIRGILIO, M.D., an
16   individual, HAL F. YEE, M.D., an
     individual, ROGER LEWIS, M.D., an
17   individual, MITCHELL KATZ, M.D., an
     individual, and DOES 1 through 50,
18   inclusive,
19                Defendants.
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23         Plaintiff Timothy Ryan, M.D. (“Plaintiff”) and Defendants Brant Putnam M.D.,
24   Janine Vintch, M.D., Anish Mahajan, M.D., Christian De Virgilio, M.D., Hal F. Yee,
25   M.D., Roger Lewis, M.D., and Mitchell Katz, M.D. (collectively, “Defendants”)
26   hereby submit their Joint Rule 26(f) Report (“Report”). The Report includes all
27   information required by this Court’s Order re: Notice to Counsel (Doc. 8).
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                                   JOINT REPORT PURSUANT TO FRCP 26(F)
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 1   I.     Fed. R. Civ. P. 26(f)(1) - Conference Timing
 2          Counsel for all parties met and conferred in person on November 30, 2017.
 3   Counsel attending the meeting were the following:
 4   Counsel for Plaintiff
 5               Kenneth P. White
                 kwhite@brownwhitelaw.com
 6               Brown White & Osborn LLP
                 333 S. Hope Street, 40th Floor
 7               Los Angeles CA 90071
                 213-613-0500
 8
     Counsel for Defendants
 9
                  John J. Manier
10                jmanier@brgslaw.com
                  Ballard Rosenberg Golper & Savitt, LLP
11                15760 Ventura Boulevard, 18th Floor
                  Encino CA 91436
12                818-508-3700
13   II.    Fed. R. Civ. P. 26(f)(2) – Conference Content; Parties’ Responsibilities
14          Counsel discussed the nature and basis of the claims and defenses, as they had
15   already in the course of meeting and conferring on Defendants’ motion to dismiss.
16   The issues are set forth plainly in the complaint and the pending motion. Counsel
17   discussed the possibility of early mediation. While the parties are amendable to
18   mediation, they believe that mediation will be more productive after several key
19   depositions. Counsel arranged for disclosures as required by Rule 26(a)(1) to be
20   made two weeks after the date of filing of this Report, by email. All parties
21   discussed and agreed to preserve discoverable information. Counsel discussed and
22   developed a proposed discovery plan, as further detailed below.
23   III.   Fed. R. Civ. P. 26(f)(3) – Discovery Plan
24          A.    Initial Disclosures Under Rule 26(a)(1)
25          The parties agree that initial disclosures shall be made two weeks after the date
26   of filing of this Report, by email.
27   ///
28   ///
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 1         B.     Scope and Timing of Discovery
 2         The parties do not foresee the need for discovery to be conducted in phases.
 3   Discovery will be focused on what Plaintiff did during the course of his investigation
 4   described in his complaint, who he told, what the people who learned of the
 5   investigation did, the basis of the Professional Staff Association (“PSA”) action
 6   against Plaintiff, and the course of the PSA’s proceedings against Plaintiff. The
 7   parties estimate that fact discovery should be completed by the end of July 2018.
 8         C.     Discovery Issues and Preservation of Electronically Stored
 9                Information
10         A substantial number of documents have been produced in discovery in a
11   related case in the Superior Court of the County of Los Angeles (“State Case”)
12   pursuant to a protective order. The parties in this case may seek to have the
13   protective order in the State Case amended so that materials disclosed there may be
14   used in this case and repeat discovery is not necessary.
15         The parties anticipate a dispute over whether the state peer review privilege,
16   Cal. Evid. Code § 1157, applies in federal court. Defendants contend that the state
17   privilege applies, while Plaintiff contends it does not. Plaintiff may be forced to file
18   a motion to compel to obtain information and documents which Defendants contend
19   are protected by the state privilege, which will bring the issue to the Court’s attention
20   for resolution. The parties also anticipate that there may be a dispute over the
21   number of depositions either party may take, and who may be deposed, in light of the
22   fact that some witnesses have previously been deposed in the State Case. The parties
23   will meet and confer thoroughly over all discovery disputes and present them to the
24   Court in the best possible format.
25         Electronically stored information shall be produced in a mutually agreeable
26   format. The parties will meet and confer to resolve any disputes regarding
27   production format.
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 1         D.       Handling Protection of Confidential Information
 2         The parties will maintain and distribute privilege logs as necessary and
 3   appropriate. As soon as discovery begins the parties shall agree upon, and file, a
 4   proposed stipulated protective order. The parties have also disclosed a potential
 5   issue concerning Defendants’ assertion of the state peer review privilege, as
 6   previously discussed.
 7         E.       Limitations on Discovery
 8         The parties do not believe any changes should be made with regards to the
 9   disclosure requirements under Federal Rules of Civil Procedure 26(a) or in the
10   limitations imposed on discovery under the Federal Rules of Civil Procedure. On all
11   procedural issues, the parties agree to meet and confer in good faith to resolve their
12   differences.
13         F.       Other Court Orders
14         The parties are not aware of any other orders the Court should issue under Rule
15   26(c) or 16(b) or (c) as of this time.
16   IV.   Local Rule 26-1 Compliance
17         A.       Complex Case
18         The parties agree that this case is not complex and that the Manual for Complex
19   Litigation does not apply to this action.
20         B.       Motions
21         Defendants intend to file a motion for summary judgment before the end of
22   August 2018. Defendants’ motion to dismiss is fully briefed and currently pending.
23         C.       Alternative Dispute Resolution
24         The parties request settlement proceedings in accordance with ADR Procedure
25   No. 3 for private dispute resolution, pursuant to Local Rule 16-15.4. It is preferred
26   that the parties first have the opportunity to conduct initial discovery, including taking
27   several key depositions, before participating in any ADR procedure.
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 1         D.     Trial Estimate
 2         The parties preliminarily estimate that the trial will last six (6) court days,
 3   though that estimate may change depending upon the outcome of discovery.
 4         E.     Additional Parties
 5         At this time, the parties do not anticipate that additional parties will be joined.
 6         F.     Expert Witnesses
 7         The parties will follow the Federal Rules of Civil Procedure, the local rules of
 8   this Court, and any scheduling orders issued by this Court, with respect to expert
 9   witnesses and expert discovery. The parties propose that all expert disclosures should
10   be made in accordance with the times and schedules set forth in Rule 26(a), based on
11   the trial date set by the Court. Under that Rule, the disclosure date for non-rebuttal
12   experts is 90 days prior to the trial date; and for rebuttal experts, it is 30 days after
13   expert disclosure. Fed. R. Civ. Proc. 26(a)(2)(D)(i) and (ii).
14

15   DATED: December 14, 2017                  BROWN WHITE & OSBORN LLP
16
                                               By s/Thomas M. Brown
17
                                                          THOMAS M. BROWN
18                                                         KENNETH P. WHITE
                                                           Attorneys for Plaintiff
19                                                       TIMOTHY RYAN, M.D.
20

21   DATED: December 14, 2017                  BALLARD ROSENBERG GOLPER &
                                               SAVITT LLP
22

23
                                               By         John J. Manier w/permission
24                                                             LINDA MILLER SAVITT
                                                                   JOHN J. MANIER
25
                                                           Attorneys for Defendants BRANT
26                                                        PUTNAM, M.D., JANINE VINTCH,
                                                            M.D., ANISH MAHAJAN, M.D.,
27                                                      CHRISTIAN DE VIRGILIO, M.D., HAL
                                                         F. YEE, M.D., ROGER LEWIS, M.D.,
28                                                           and MITCHELL KATZ, M.D.
                                                    5
                                    JOINT REPORT PURSUANT TO FRCP 26(F)
